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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:21-cv-02649-RM-NRN

  CELESTE T. ARCHER,

         Plaintiff,

  v.

  KIMBERLYN COOK, in her individual capacity,
  LACEY KLINDT, in her individual capacity, and
  ELEANORE LEWIS, in her individual capacity,

         Defendants.


                      DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

         The Defendants, Kimberlyn Cook, Lacey Klindt, and Eleanore Lewis, submit the

  following Motion for Protective Order along with a proposed Protective Order:

         1.      Conferral: Per D.C.COLO.LCivR 7.1(a) and this Court’s practice standards,

  counsel for Defendants has conferred with Plaintiff’s counsel regarding a protective order.

  Plaintiff opposes. Plaintiff’s counsel has indicated that Plaintiff is not generally opposed to

  seeking a protective order, but objected to the concurrently-filed proposed protective order on the

  basis that it has an “excessively broad definition of what counts as confidential, including

  information that is false and provided in bad faith,” “there is no mention of redaction,” he needs

  documents for Plaintiff’s “campus complaint,” and he anticipates using information “later in this

  case at a public trial … [or] in a separate state court action.” Undersigned counsel has explained

  that the proposed protective order provides a process by which Plaintiff’s counsel may object to

  any information he believes is improperly designated as confidential and has explained that the

  protective order does not preclude using documents at a later public trial.
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         2.      The parties jointly anticipated seeking a protective order in the Scheduling Order.

  ECF #17. Given the lack of progress since December 2021 (when undersigned counsel first

  provided the proposed protective order to Plaintiff’s counsel) and the need to have a protective

  order prior to Defendant Lewis’ deposition, currently scheduled for April 7, 2022, Defendants

  submit this motion.

         3.      Fed. R. Civ. P. 26(c) provides that the Court may enter a Protective Order upon a

  showing of good cause to protect the discovery and dissemination of confidential information or

  information which will improperly annoy, embarrass, or oppress any party, witness, or person

  providing discovery in this case. “[D]iscovery also may seriously implicate privacy interests of

  litigants[.]” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 35 (1984). Thus, “Rule 26(c) confers

  broad discretion on the trial court to decide when a protective order is appropriate and what

  degree of protection is required.” Wiese v. Centex Homes, No. CIVA 08CV00377ZLWMEH,

  2008 WL 5428001, at *1 (D. Colo. Dec. 31, 2008).

         4.      The blanket protective order sought here places the burden on the parties to

  determine what information is entitled to protection “and designate the information it believes, in

  good faith, is confidential or otherwise entitled to protection.” Gillard v. Boulder Valley Sch.

  Dist. Re.-2, 196 F.R.D. 382, 386 (D. Colo. 2000). Thus, not all documents are automatically

  designated confidential, nor is there a burden on the court to review or identify documents for

  which protection is sought. Id.

         5.      “The agreement of all parties is not required for the entry of a blanket protective

  order … so long as certain conditions are met.” Id. “First, a party must make some threshold

  showing of good cause to believe that discovery will involve confidential or protected

  information. This may be done on a generalized as opposed to a document-by-document basis.”



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  Id. (citing Parkway Gallery Furniture, Inc. v. Kittinger/Pennsylvania House Group, Inc., 121

  F.R.D. 264, 268 (M.D.N.C. 1988). Second, “a party must agree to only invoke the designation in

  good faith.” Id. Third, “the opposing party has the right to contest those documents which it

  believes not to be confidential … [and] the party seeking the protection shoulders the burden of

  proof in justifying retaining the confidentiality designation.” Id.

         6.      Here, good cause exists to believe that discovery includes confidential or

  protected information: it has already produced such information. Included in the already-

  produced documents are those that implicate privacy interests involving personnel, medical,

  business, financial or proprietary information of the parties. For example, “Formstack

  Submission For: COVID Form – Denver” is Defendant Lewis’ COVID-19 self-report, which

  includes medical information about her COVID-19 vaccine and COVID-19 symptoms, as well as

  other private information that is not generally known to the public such as her date of birth,

  personal cell phone number, and employee identification number, among other details.

  Defendants produced this document and Plaintiff has filed it with the Court as ECF #18-4 and

  ECF #21-5.

         7.      Further discovery has been stayed except for Defendant Lewis’ upcoming

  deposition. ECF #38. Plaintiff seeks to depose Defendant Lewis on April 7, 2022. Plaintiff has

  questioned the veracity of Defendant Lewis’ COVID-19 symptoms and self-report. See, e.g.,

  ECF #33. Defendants have good cause to believe that Plaintiff will seek to explore Defendant

  Lewis’ health and other medical information, and it may be necessary to designate portions of

  the deposition as confidential.

         8.      Defendants agree to invoke the designation in good faith. Indeed, of the

  information produced so far in this litigation, Defendants have judiciously marked only some



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  documents as confidential in anticipation of a protective order. Defendants understand Plaintiff’s

  primary objection to be that Defendant Lewis’ COVID-19 report was made “in bad faith.”

  Defendants disagree, see, e.g., ECF #24, ECF #28, ECF #29, and the proposed protective order is

  not the avenue in which to litigate the genuineness of Defendant Lewis’ actions. Plaintiff seeks

  to depose Defendant Lewis, and may later challenge the confidential designation.

         9.      Defendants understand that they, or Plaintiff, would have the opportunity to

  challenge the confidential designation of any document. See Proposed Protective Order, ¶ 12.

         10.     As such, good cause exists for the entry of a protective order to protect the parties

  from the disclosure of information, which will improperly annoy, embarrass, or oppress any

  party, witness or person providing discovery in this case.

         WHEREFORE, Defendants respectfully request this Court enter the proposed Protective

  Order submitted herewith.

  DATED: April 4, 2022.
                                                    Respectfully submitted:

                                                    s/ Megan Clark
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 4, 2022, I electronically filed the foregoing with the Court’s
  electronic filing system (CM/ECF) which will automatically cause notification to be sent to the
  following counsel of record:

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